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 3                         UNITED STATES DISTRICT COURT
 4                      SOUTHERN DISTRICT OF CALIFORNIA
 5   UNITED STATES OF AMERICA                     Case No. 20-CR-1490 JLS
 6                Plaintiff,
                                                  ORDER CONTINUING MOTION
 7          v.                                    HEARING/TRIAL SETTING AND
                                                  EXCLUDING TIME UNDER
 8   MARYCHUY FLORES,                             SPEEDY TRIAL ACT
 9                Defendant.                      The Honorable Janis L. Sammartino
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11         Pursuant to joint motion and good cause appearing, the Court continues the Motion
12 Hearing/Trial Setting in this matter from October 23, 2020 to December 4, 2020, at 1:30
13 p.m., and orders time excluded from the date of this order through December 4, 2020, under
14 the Speedy Trial Act. In light of the ongoing judicial emergency identified in Orders of the
15 Chief Judge Numbers 18, 24, 27, 30, 31(a), 33, 36, and 40, and for the reasons provided in
16 the motion, the Court finds that the ends of justice served by granting a continuance
17 outweigh the best interest of the public and the defendant in a speedy trial. See 18 U.S.C.
18 § 3161(h)(7)(A). Defendant shall file an acknowledgement of the new hearing date by
19 October 30, 2020.
20         SO ORDERED.
21 Dated: October 21, 2020
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